                     Case 1:11-cr-00299-AWI Document 69 Filed 04/25/12 Page 1 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
              ROMAN SANTANA                                             Case Number: 1:11CR00299-005


                                                                        Ruben A. Villalobos
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count: Nine of the Indictment .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                           Date Offense             Count
Title & Section                     Nature of Offense                                      Concluded                Number(s)
18 USC 2318 and 2                   Trafficking in Counterfeit Labels and                  05/2011 - 07/25/2011     Nine
                                    Counterfeit Documentation and Packaging,
                                    Aiding and Abetting



       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on count(s)          and is discharged as to such count(s).

[U]      Counts One, Three, and Six are dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                            4/23/2012
                                                                                  Date of Imposition of Judgment


                                                                                      /s/ ANTHONY W. ISHII
                                                                                    Signature of Judicial Officer


                                                                       ANTHONY W. ISHII, United States District Judge
                                                                             Name & Title of Judicial Officer

                                                                                               4/25/2012
                                                                                                  Date
                     Case 1:11-cr-00299-AWI Document 69 Filed 04/25/12 Page 2 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               1:11CR00299-005                                                               Judgment - Page 2 of 4
DEFENDANT:                 ROMAN SANTANA


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 12 months.




[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated in a California facility, but only insofar as the accords
         with security classification and space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [] at on
         [] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [] before on
         [] as notified by the United States Marshal.
         [] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
                       Case 1:11-cr-00299-AWI Document 69 Filed 04/25/12 Page 3 of 4
AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:11CR00299-005                                                                            Judgment - Page 3 of 4
DEFENDANT:                    ROMAN SANTANA


                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                         Fine                     Restitution
       Totals:                                       $ 100.00                           $                      $ 16, 289.55


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed
    below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. §
       3664(i), all nonfederal victims must be paid before the United States is paid.



Name of Payee                             Total Loss*                           Restitution Ordered Priority or Percentage
Recording Industry Association of America $16,289.55                                $16,289.55               100%
575 Anton Boulevard, Suite 300
Costa Mesa, CA 92626

       TOTALS:                                     $ 16,289.55                     $ 16,289.55




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in
       full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
       on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ U]      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirement is waived for the                [ ] fine          [U] restitution

       [ ] The interest requirement for the                 [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[U] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.



  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
                       Case 1:11-cr-00299-AWI Document 69 Filed 04/25/12 Page 4 of 4
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:11CR00299-005                                                                           Judgment - Page 4 of 4
DEFENDANT:                   ROMAN SANTANA

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [U]           Lump sum payment of $            16,389.55 due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Payment to begin immediately (may be combined with                    [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of                (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $  over a period of    (e.g., months or
         years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within   (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at
         that time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[U] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:
Roman Santana                 Defendant             1:11-cr-00299-05       $16,289.55   Joint and Several
Martin Munoz Peralta          Co-Defendant          1:11-cr-00299-04       $16,289.55   Joint and Several
Antonio        Hernandez Sanchez       Co-Defendant         1:11-cr-00299-06            $16,289.55       Joint
                                                                                                         and
                                                                                                         Several
Edgar Alonso Bautista Arazate Co-Defendant          1:11-cr-00299-07       $16,289.55   Joint and Several

[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[U] The defendant shall forfeit the defendant’s interest in the following property to the United States:
    The Preliminary Order of Forfeiture entered on 3/29/2012, is hereby made final as to the defendant, and shall be
    incorporated into the judgment.
